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                                                                                    Tor Ekeland
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                                             September 16, 2021

      VIA EMAIL

      Hetal J. Doshi
      Assistant United States Attorney
      District of Colorado
      1801 California Street, Suite 1600
      Denver, Colorado 80202
      Phone: (303) 454-0100
      Fax: (303) 454-0403
      Hetal.Doshi@usdoj.gov

      Andrea L. Surratt
      Assistant United States Attorney
      District of Colorado
      Andrea.Surratt@usdoj.gov

      Re: United States v. Tew et al., 20-CR-00305-DDD - Taint

      Dear Mrs. Doshi,

               We appreciate you taking the time to speak with us this Wednesday and look
      forward to meeting with you on October 12, 2021, to discuss the path forward. As we
      agreed, we will refrain from requesting a Special Master to review the taint issues and
      litigating the privilege issues until after this meeting assuming you halt your review of all
      the discovery returned under the search warrants in this matter. For two main reasons.

             First, we agree with the Fourth Circuit Court of Appeals that your taint team
      procedures are unconstitutional because the judiciary cannot delegate privilege
      determinations to the Executive Branch.1

              Second, even assuming the court ordered taint team protocols are constitutional you
      do not appear to have followed them.

               Thus, it is our position that all the discovery seized under the search warrants is
      irreparably tainted. If you continue your review, we will seek relief from the Court. Feel
      free to reach out to us if you wish to discuss this before our October meeting.

      1 See In Re: Search Warrant Issued June 13, 2019, 942 F. 3d 159 (CA4 2019).




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             Nothing in this letter constitutes a waiver of any type, including Mr. and Mrs.
      Tew's marital privilege and any other rights they have under the Law.


             Sincerely,

             Tor Ekeland
